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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 UNITED STATES OF AMERICA,

        v.                                                CASE NO.: 4:22-cr-114

 TONY HELDORE,

        Defendant.


                                           ORDER

       This matter is before the Court on Defendant’s Unopposed Motion to Remove Condition

of Pre-Trial Release. (Doc. 170.) After careful consideration and for good cause shown, the Court

GRANTS the Motion.

       THEREFORE, IT IS HEREBY ORDERED that the Order Setting Conditions of Release,

(doc. 69), as to Defendant Tony Heldore is modified as follows. The condition contained in

paragraph (7)(b) that the Defendant must continue or actively seek employment is removed as a

condition of Defendant’s release. All remaining conditions previously ordered and not specifically

modified by this order remain in full force and effect.

       SO ORDERED, this 21st day of July, 2023.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
